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UNITED STATES DISTRICT coURT -.O‘& D_Q
WESTERN DISTRICT OF TENNESSEE z 05 Jw_ __6
WESTERN DIVISION #H 9.- 47
"WA\
AMERICAN COPPER & BRASS, INC. ) {Q-'-B(g§ M Ae§i®ul)
and THE BANKRUPT ESTATE OF SMITH) %£m]'
AND WOFFORD PLUMBING AND )
INDUSTRIAL SUPPLY, INC., on behalf of )
themselves and all others similarly situated, )
)
Plaintiffs, )
)
v. ) No. 04-2771-DV
)
DONALD BOLIDEN AB, et al., )
)
Defendants. )
)

 

ORDER GRANTING MOTION TO DISMISS OF
WTC HOLDING COMPANY, INC., AND DENO HOLDING COMPANY, INC.,
AND DENYING MOTION TO DISMISS OF DEFENDANTS’
MUELLER INDUSTRIES, INC., KME AMERICA INC., OUTOKUMPU COPPER
(U.S.A.), INC., AND WIELAND METALS, INC. (DKT. # 71)

 

This matter is before the Court upon the motion of Defendants, Mueller Industries, Inc.
(“Mueller”); WTC Holding Company, lnc. (“WTC”); DENO Holding Company, Inc. (“DENO”);
KME America lnc. (“KME”); Outokumpu Copper (U.S.A.), Inc. (“Outokumpu”); and Wieland
Metals, Inc. (“Wieland”), (collectively “moving Defendants” or “Defendants”) to dismiss in its
entirety the class action complaint of American Copper & Brass, Inc. (“American Copper”) and The
Bankrupt Estate of Smith and Wofford Plumbing and Industrial Supply, Inc. (“Smith Estate”),
(collectively “Plaintiffs”). The moving Defendants’ motion was brought pursuant to Fed.R.CiV. P.
12(b)(6) as to Plaintiffs’ section 1 Sherman Act claim, and pursuant to Rules lZ(b)(6) and 9(b) as

to Plaintiffs’ fraudulent concealment claim. For the following reasons, the Court DENIES the

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with Rule 58 and/or 79(a) FRCP on ’

 

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motion to dismiss as to moving Defendants Mueller, KME, Outokurnpu, and Wieland, and
GRANTS the motion to dismiss as to moving Defendants WTC and DENO.
I. BACKGROUND
A. Procedural Background1

On September 24, 2004, American Copper invoked this Court’s jurisdiction pursuant to the
provisions of sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, to recover treble
damages for, and obtain injunctive relief from, Defendants’ alleged violations of section 1 of the
Sherman Act, 15 U.S.C. § l, and the cost of this suit, including reasonable attorneys fees. On March
9, 2005, Plaintiffs2 filed a Consolidated Amended Class Action Cornplaint3 (hereinafter,
“complaint”) with this Court. On May 6, 2005, the moving Defendants sought dismissal of
Plaintiffs’ complaint in its entirety.
B. Factual Background

American Copper is a Michigan corporation Compl. 11 8. The Smith Estate is an entity in
the State of Tennessee. Ll. at 11 9. The moving Defendants hail from various jurisdictions across the
United States (“U.S.”). Mueller, the leading producer of copper tubing in the world, is a corporation
with its principal place of business in Memphis, Tennessee. WTC is a corporation with its principal
place of business in Michigan. DENO is a corporation With its principal place of business in
Michigan. KME is a Delaware corporation with its principal place of business in Illinois.

Outokurnpu is a corporation with its principal place of business in Illinois. Wieland is a corporation

 

l The Court received a letter from Plaintiffs’ counsel dated June 30, 2005. The Court did not consider this
letter in deciding this motion because the communication did not constitute a proper pleading

2The Smith Estate was Plaintiff in Civil Action No. 04-2930-DV prior to consolidation

3 Individually and on behalf of a class pursuant to Fed.R.Civ. P. 23(a),(b)(2)-(3).
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with its principal place of business in Illinois.

There are twenty-three (23) defendants in this case. Of the six moving Defendants, Mueller,
KME, Outol<urnpu and Wieland have aft`iliations, either as a subsidiary or a parent entity, to at least
one of the non-moving EU-based Defendants: Mueller (Mueller Europe Ltd., United Kingdom),
KME (KM Europa Metal AG, Germany), Outokumpu (Outokumpu OYJ and Outokurnpu Copper
Products of OY, Finland), and Wieland (Wieland Werke AG, Gerrnany).

Plaintiffs allege that between June l, 1988, and March 31, 2001, (“Class Period”), the
moving Defendants, directly or through their subsidiaries and/or afflliates, produced Copper
Plurnbing Tubes (hereinafter, “copper tubing”) and sold them throughout the United States. Compl.
fm 22, 24, 25, 28, 30, and 43. Copper tubing includes both plain copper plumbing tubes and plastic-
coated copper tubal fixtures used in dwelling structures to transfer water, heat, and gas. lit at 11 5.
Copper tubing is used in residential and office buildings and throughout the transportation industry.
ld. at im 47-48.

Plaintiffs rely to a great extent on a September 3, 2004 European Commission (“EC”) press
release for its facts. This press release detailed the EC ’ s imposition of fines against named European
copper tubing manufacturers, some of whom are moving Defendants. E. at 11 53. EC fines were
levied against Boliden Group (Sweden), Halcor S.A. (Greece), HME Nederland BV (The
Netherlands), the IMI Group (United Kingdom), the KME Group (Gerrnany, Italy, and France),
Mueller Industries, Inc. (U.S., United Kingdom, and France), Outokurnpu Industries, Inc., (Finland),
and Wieland Werke AG (Germany). The EC investigation led to uncovering the operation of a
European cartel to fix prices of copper tubing between .lune, 1988, and March, 2001 “throughout
most of the European Economic Area . . . in violation of EU Treaty 81 and EEA Agreement Article

53.” l_cl.

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Plaintiffs aver that on September 29, 1989, European manufacturers, some of whom are also
named Defendants, met in Zurich, Switzerland (dubbed the “Airport Forum”) and made statements
expressing an intent to keep the price of copper tubing high in “high price level countries.” E. at
ll 56. Plaintiffs assert that a cartel grew into “a ‘group of live’[of the] largest European producers
of copper plumbing tubes” with the intent to fix prices in the global copper tubing market E. at il
57.

II. LEGAL STANDARD

A 12(b)(6) motion tests whether a plaintiff has plead a cognizable claim. Scheid v. Fanny
Farrner Candy Shops, Inc., 859 F.2d 434, 436 (6th Cir. 1988). Essentially, it allows the court to
dismiss meritless cases and claims which would otherwise waste judicial resources and result in
unnecessary discovery. E, gg, Nietzke v. Williams, 490 U.S. 319, 326-27 (1989). A court,
however, is to presume that well plead allegations are true, resolve all doubts and inferences in favor
of the pleader, and view the pleading in the light most favorable to the non-moving party. M_M_I
Int’l, Inc. v. Smme, Cramer, Co., 265 F.Supp. 2d 882, 886 (6th Cir. 2003).

“A complaint should not be dismissed for failure to state a claim unless it appears beyond
doubt that the plaintiff can prove no set of facts in support of his claim Which would entitle him to

relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957); §§ ali Nietzke, 490 U.S. at 326-27; Lewis

 

v. ACB Bus. Serv. lnc., 135 F.3d 389, 405 (6th Cir. 1997). The standard to be applied when

 

evaluating a motion to dismiss for failure to state a claim is very liberal in favor of the party
opposing the motion. Westlalce v. Lucas, 537 F.2d 857, 858 (6th Cir. 1976). Even if the plaintiff’ s
chances of success are remote or unlikely, a motion to dismiss should be denied.

Before deciding to grant a motion to dismiss, the court must first examine the complaint The

complaint must contain “a short and plain statement of the claim showing that the pleader is entitled

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to relief.” Fed.R.Civ. P. 8(a). The complaint must provide the defendant with “fair notice of what
the plaintist claim is and the grounds upon which it rests.” Conley, 355 U.S. at 47; Westlake, 537

F.2d at 858. The plaintiff must allege the essential material facts of the case. Scheid, 859 F.2d at

 

436-37. Where there are conflicting interpretations of the facts, they must be construed in the
plaintiffs favor. Sinay v. Lamson & Sessions Co., 948 F.2d 1037, 1039-40 (6th Cir. 1991).
However, in considering a 12(b)(6) motion, the court must not accept plaintiffs legal conclusions
or unwarranted factual inferences as true. L_ev@,l35 F.3d at 405-06.
III. ANALYSIS

To state a § l Sherrnan Act claim in a private antitrust action, a plaintiff must aver three
essential elements: (l) the existence of a conspiracy (2) affecting interstate commerce (3) that
imposes an unreasonable restraint on trade. Richter Concrete Corn. v. Hilltot) Concrete Corn., 691

F.2d 818, 827 (6th Cir. 1982); Davis-Watkins Co. v. Service Merchandise, 686 F.2d 1190, 1195-96

 

(6th Cir, 1982).

The basic objective of the Sherrnan Act is to prevent or suppress devices or practices that
create monopolies or restrain trade or commerce in the United States. S_e§ United States v. American
Linseed Oil Co., 262 U.S. 371, 388 (1923); Sugar Institute, Inc. v. United States, 297 U.S. 553, 597
(1936). “The Sherrnan Act was conceived as a weapon against monopolies, trusts, and conspiracies
that use[] agreement instead of financial consolidation to achieve the Sarne results.” Northwest
Power Productsa Inc. v. Omarl< lndustries, lnc., 576 F.2d 83, 89 (5th Cir. 1978), rehearing denied,
579 F.2d 643, cert. denied, 439 U.S. l l 16 (1979). Although the Sherrnan Act, by its terms, prohibits
every agreement “in restraint of trade,” Congress’ intent was to outlaw only unreasonable restraints
w 15 U.S.C. § l; se_e, gg, State Oil Co. v. Khan, 522 U.S. 3, 10 (1997).

Two maj or threads of antitrust judicial analysis are employed to determine whether there has

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been a violation of the Sherrnan Act: (1 ) per se unreasonable restraint on trade, derived from judicial
experience with certain forms of egregious, anti-competitive restraints, and (2) “rule of reason,”
which entails a closer scrutiny of a plaintiff’ s allegations against the antitrust statute and its case law.
Congress “expected the courts to give shape to the statute’ s broad mandate by drawing on common-
law tradition.” Nat’l Soc’v of Prof. Engineers v. United States, 435 U.S. 679, 688 (1978).

J udicial antitrust common law has established price-fixing as one of the per se unreasonable
restraints on trade. E United States v. Nat’l Ass’n of Real Estate Boards, 339 U. S. 485, 489 (195 0)
(“An agreement, shown either by adherence to a price schedule or by proof of consensual action
fixing the uniform or minimum price, is itself illegal under the Sherrnan Act, no matter what end it
was designed to serve. That is the teaching of an unbroken line of decisions”). Where a per se
unreasonable restraint on trade is not shown, a court’s analysis must be based on an application of
the rule of reason. This involves the initial Showing of a relevant product and geographic market,

as well as an injury to competition

For purposes of a 12(b)(6) motion, it is not a court’s function to rule on the weight of the
evidence or the issue of credibility, Anderson v. Libertv Lobe. 477 U.S. 242, 249 (1986); however,
failure of a plaintiff to aver either of the essential statutory elements justifies dismissal of an antitrust
claim. Furthermore, while the pleading standard under the federal rules is very liberal, g
Fed.R.Civ.P.S, the essential elements of a private antitrust claim must be alleged in more than vague
and conclusory terms to prevent a 12(b)(6) dismissal § Crane & Shovel Sales CorD. v. Bucvrus-
_E_r_i_eL, 854 F.2d 802, 805 (6th Cir. 1988).

1. Conspiracy
A claim under Section l of the Sherrnan Act requires that a plaintiff “establish that the

defendants combined or conspired with an intent to unreasonably re strain trade.” Smith v. Northern
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Mich. Hosps., 703 F.2d 942, 949 (6th Cir. 1983). The moving Defendants argue that Plaintiffs’
allegations of an illegal agreement are vague and conclusory and do not sufficiently allege a
conspiracy under Section 1 of the Sherrnan Act. The moving Defendants cite this Court’s opinion
in Cupp v. Alberto-Culver USA, lnc., 310 F. Supp. 2d 963 (W.D. Tenn. 2004), for the proposition
that vague and conclusory statements of collusive activity are insufficient to survive a Rule 12(b)(6)
motion. Cupp v. Alberto-Culver USA, lnc., 310 F. Supp. 2d at 972 (citing Crane & Shovel Sales
CorD. v. Bucvrus-Erie Co., 854 F.2d at 805). The moving Defendants’ reliance on C_upp for this
proposition is appropriate The moving Defendants assert that the alleged conspiracy must detail the
time, place, and alleged effect of the conspiracy Estate Constr. Co. v. Miller & Smith Holding Co.,
14 F.3d 213, 221-22 (4th Cir. 1994) (the Fourth Circuit dismissed an antitrust claim that “merely
reiterated mechanically the words of the Sherrnan Act”). Indeed, while the pleading standard under
the federal rules is very liberal, W Fed.R.Civ. P. 8, “the price of entry, even to discovery, is for the
plaintiff to allege a factual predicate concrete enough to Warrant further proceedings, which may be
costly and burdensome.” DM Research, lnc. v. College of Am. Pathologists, 170 F.3d 53, 55 (1St
Cir. 1999).

Estate Constr. Co. can be distinguished from the case at bar. Plaintiffs in Estate Constr. Co.
merely reiterated statutory language without including any factual allegations Plaintiffs at bar,
though relying exclusively on the information and belief of facts from the EC investigation for the
existence of dates, meetings, and statements, have asserted facts that point to the concerted
conspiratorial acts of some of the Defendants. For purposes of this motion, all of these facts are
assumed true. The moving Defendants further assert that no factual link is alleged to connect U.S.
copper tubing manufacturers with the conspiratorial acts that occurred in Europe. This is true as to

the moving Defendants WTC and DENO, but not as to the remaining four moving Defendants.

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WTC and DENO are business entities organized solely under U.S. laws and Plaintiffs have averred
no link between these entities and the activities that occurred within the EU. On the other hand,
Mueller, KME, Outokumpu, and Wieland all have affiliated business entities in Europe who were
identified parties to the alleged conspiracy and subject to EC anticompetitive sanctions It is not
inconceivable that knowledge of and participation in the conspiratorial acts existed among the U.S.
and EU affiliated business entities and that such acts extended to the U.S. market Though the
holding of a foreign tribunal alone does not establish that antitrust activities have occurred under
U.S. antitrust laws, the acts alleged are sufficient to state the conspiracy element for purposes of
Section l of the Sherrnan Act against Mueller, KME, Outokumpu, and Wieland. As to Mueller, both
its U.S. and EU business entities were specifically named in the EC press release that reported the
copper tubing cartel. Accordingly, the Court finds that, as to Mueller, KME, Outokumpu, and
Wieland, a conspiracy has been alleged for purposes of a violation of the Sherrnan Act. Accordingly,
the motion to dismiss as to these Defendants is not well founded as to this element.
2. Interstate Commerce

The second element of a § l Sherrnan Act claim is the interstate commerce requirement,
which is often referred to as jurisdictional The Supreme Court has held that there is no practical
distinction between the “jurisdictional” interstate commerce inquiry and whether a complaint pleads
an effect on interstate commerce sufficient to state a claim for relief under the Sherrnan Act. Mp_.
Bldg. Co. v. Trs. of Rex Hosp., 425 U.S. 738, 742 & n l (1976) (“an analysis of challenges to
antitrust claims based on the interstate commerce element under either Fecleral Rule of Civil
Procedure 12(b)(1) or 12(b)(6) leads to the same result.”). Further, the Supreme Court has held that
the Sherrnan Act’s reach is as broad as Congress’ power under the Commerce Clause. McLain v.

Real Estate Bd. of New Orleans, 444 U.S. 232, 241-42 (1980).
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To establish that interstate commerce has been impacted, a plaintiff must demonstrate either
( l) that the proscribed activities are actually “in” or part of interstate commerce, Mandeville lsland
Farms v. American Crvstal Sugar Co.. 334 U.S. 219 (1948), or (2) that the defendant’s business

activities in general substantially affect interstate commerce. McLain, 444 U.S. at 239.

 

Plaintiffs assert that the conspiracy to fix prices in the copper tubing industry was carried out
with the intent to reach global markets. Additionally, Plaintiffs contend that the price of copper
tubing in the U.S. during the Class Period, due to the conspiracy, resulted in the members of the
Class paying substantially more for copper tubing than they would have paid in the absence of
Defendants’ conspiracy Mueller alone is the leading global manufacturer of copper tubing. KME,
Outokumpu, and Wieland also transact business globally and throughout the U.S.. The Court finds
that for purposes of the 12(b)(6) motion to dismiss, Plaintiffs have satisfied the second element of
their antitrust claim.

3. Restraint on Trade

Per se violations involve “agreements whose nature and necessary effect are so plainly anti-
competitive that no elaborate study of the industry is needed to establish their illegality.” Nat’l Soc’y
of Prof’l Eng’rs v. United States, 435 U.S. 679, 692 (1978). The strict per se rules of modern
antitrust law establish a conclusive presumption that a particular kind of action has improper anti-
competitive effects, and this presumption governs regardless of whether the particular conduct in its
actual context has been proved to have those consequences State Oil Co., 522 U.S. at 10 (1997),
overruling Albrecht v. Herald Co.. 390 U.S. 145 (1968).

Here, Plaintiffs contends that EU-based business entities conspired to fix copper tubing
prices, not just within the EU, but also in the U.S. This, Plaintiffs assert, constitutes a per se

violation against the moving Defendants The Court agrees. Price fixing is per se anticompetitive

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and does not require a rule of reason analysis to determine whether restraint on trade has been
adequately averred by a showing of the relevant product and geographic markets or injury to
competition For purposes of this motion, Mueller, KME, Outokumpu, and Wieland’s alleged
participation in a horizontal restraint on trade by conspiring to fix prices in the copper tubing
industry constitutes a per se restraint on trade for purposes of a 12(b)(6) motion to dismiss Because
there is nothing to link WTC and DENO to the concerted acts that occurred in Europe, a claim of
per se restraint has not been sufficiently averred against them. Accordingly, the Court finds that
Plaintiffs have adequately alleged facts of a per se restraint on trade against Mueller, KME,
Outokumpu, and Wieland for purposes of surviving a motion to dismiss
4. Statute of Limitations
The moving Defendants argue that Plaintiffs’ complaint for damages for acts that occurred
more than four years from the time the Sherrnan Act claim accrued is defeated by the statute of
limitations The Sherrnan Act’s limitation of action establishes that:
[a]ny action to enforce any cause of action under Section 15 , 15a, or
150 of this title shall be forever barred unless commenced within four
years after the cause of action accrued. No cause of action barred
under existing law on the effective date of this Act shall be revived
by this Act.

15 U.S.C. § 15b.

A Sherrnan Act claim accrues when the defendant commits an act that injures the plaintiffs’
business Zenith Radio Com. v. Hazeltine Research, lnc., 401 U.S. 321, 338 (1971) (“each time a
plaintiff is injured by an act of the defendant a cause of action accrues to him to recover the damages
caused by that act and, as to those damages, the statute of limitations runs from the commission of

the act”). Plaintiffs allege that the moving Defendants’ violation of the Sherrnan Act began “at least

as early as .lune 1, 1988, and continu[ed] until no earlier than March 31, 2001.” Compl. 11 61.
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Defendants assert that, to the extent Plaintiffs seek to recover damages for injuries that occurred
more than four years preceding the commencement of this action (i.e., September 24, 2000),
Plaintiffs’ claim is time-barred and should be dismissed Plaintiffs argue that the statute of
limitations is tolled by Defendants’ acts of fraudulent concealment To establish fraudulent
concealment, a plaintiff must allege:

(l) wrongful concealment of their actions by the

defendants; (2) failure of the plaintiff to discover the

operative facts that are the basis of his cause of action

within the limitations period; and (3) plaintiffs due
diligence until discovery of the facts

Dayco Corp. v. Goodyear Tire & Rubber Co., 523 F.2d 389, 394 (6th Cir. 1975).
Additionally, Fed.R.Civ. P. 9(b) requires that a party alleging fraudulent concealmen “plead

the circumstances giving rise to it with particularity.” Dayco Co;p., 523 F.2d at 394; §_e_e also,

 

Campbell v. Upjohn Co., 676 F.2d 1122, 1126 (6th Cir. 1982). Plaintiffs in the case at bar allege
that the conspiracy “was inherently self-concealing.” Compl. 1171 . w Dg Cleaning & Laund;y Inst.
of Detroit, Inc. v. Flom’s Com., 841 F. Supp. 212, 217 (E.D. Mich. 1993) (citing Pinney Dock and
rejecting the contention that because the price-fixing conspiracy was inherently “self-concealing,”
plaintiffs do not need to prove affirmative acts of concealment”) (emphasis added).

In Dayco Cor_'p., the Sixth Circuit held that affirmative acts of concealment by the defendant
beyond the original fraud do not relieve the plaintiff of the requirement of` due diligence DM
M, 523 F.2d at 394. The Supreme Court in Wood v. Ca_rpenter, 101 U.S. (11 Otto) 135 (1879),
stated that “concealment by mere silence is not enough.” M, 101 U.S. (ll Otto) at 143 (the
circumstances of the discovery must be fully stated and proved, and the delay which has occurred
must be shown to be consistent with the requisite diligence). ld_.

F or purposes of this motion, the Court finds that Plaintiffs have averred affirmative acts and

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shown diligence Plaintiffs have averred that the means by which they discovered the alleged
conspiracy was the EC press release of September 3, 2004, which sets forth the concerted
conspiratorial acts On September 24, 2004, Plaintiffs filed their original complaint in this matter.
Plaintiffs argues that at this stage, it is not appropriate to determine whether their diligence was
sufficient The Court agrees Whether their diligence was reasonably sufficient will be measured
at the evidentiary stage.

Furthermore, in spite of the fact that the only known concerted acts of conspiracy occurred
in Europe, the Court finds that Plaintiffs’ averment Sufficiently meets the particularity requirement
of Fed.R.Civ. P. 9(b) for fraudulent concealment when it avers that the first European-wide meeting
was held on September 29, 1989 at the “Airport Forum” in Zurich, Switzerland. According to the
complaint, at this meeting Defendants agreed to meet again less than a month later in the negotiation
room of the Amsterdam airport to continue their plan to fix prices Accordingly, Plaintiffs should
be allowed to proceed as to all claims against Mueller, KME, Outokumpu, and Wieland since, for
purposes of a 12(b)(6) motion, Plaintiffs have alleged wrongful concealment and Plaintiffs could not
have discovered the concealment Furthermore, Plaintiffs’ discovery of the EC press release goes
to their diligence in discovering the alleged conspiracy F or the reasons stated above, Defendants’

motion to dismiss based on the statute of limitations is DENIED.

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IV. CONCLUSION
Accordingly, the Court DENIES the motion to dismiss as to moving Defendants Mueller,

KME, Outokumpu, and Wieland, and GRANTS the motion to dismiss against moving Defendants

WTC and DENO.

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This notice confirms a copy of the document docketed as number 125 in
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Honorable Bernice Donald
US DISTRICT COURT

